        Case 1:25-cv-00246-JLT-CDB      Document 27   Filed 03/14/25   Page 1 of 5


1    YAAKOV M. ROTH
     Acting Assistant Attorney General
2
     Civil Division
3    SAMUEL P. GO
4    Assistant Director
     NYS Bar No. 4234852
5          U.S. Department of Justice
6          Civil Division
           Office of Immigration Litigation
7          General Litigation and Appeals Section
8          Ben Franklin Station PO Box 878
           Washington, DC 20044
9          Telephone: (202) 353-9923
10         Fax: (202) 305-7000
           Email: Samuel.Go@usdoj.gov
11
12   Attorneys for Defendants 1

13                             UNITED STATES DISTRICT COURT
14                          EASTERN DISTRICT OF CALIFORNIA
15                                   FRESNO DIVISION
16   UNITED FARM WORKERS, et al.,                No. 1:25-cv-00246-JLT-BAM
17               Plaintiffs,                     DEFENDANTS’ FIRST MOTION FOR
18                     v.                        EXTENSION OF TIME TO RESPOND
                                                 TO PLAINTIFFS’ MOTIONS FOR
19   KRISTI NOEM, et al.,                        PRELIMINARY INJUNCTION AND
20                                               PROVISIONAL CLASS
                 Defendants.
                                                 CERTIFICATION
21
22                                               Hon. Jennifer L. Thurston
23
24
25
26
27
28


          1
              Additional attorneys for Defendants included on the last page.
         Case 1:25-cv-00246-JLT-CDB         Document 27     Filed 03/14/25   Page 2 of 5


1             Defendants respectfully move the Court for an order granting Defendants a 17-day
2    extension of time to respond to Plaintiffs’ motions for provisional class certification, ECF
3    No. 14, and a preliminary injunction, ECF No. 15. Defendants require additional time to
4    discuss with the agency the facts of this case and whether there are aspects of Plaintiffs’
5    requested relief that may be resolved without further litigation. Defendants’ response
6    deadline is currently March 21, 2025. Defendants respectfully request that the Court
7    extend the date Defendants’ response to Plaintiffs motions is currently due, up to and
8    including April 7, 2025. In support of this motion, Defendants state as follows:
9             1.    On February 26, 2025, Plaintiffs filed a 71-page complaint in this Court
10   against several federal government officials arising from a days-long operation in January
11   2025 conducted by U.S. Customs and Border Protection (“CBP”). ECF No. 1.
12            2.    On March 7, 2025, Plaintiffs filed a motion for provisional class certification,
13   ECF No. 14, and a motion for a preliminary injunction, ECF No. 15. Plaintiffs’ motion for
14   preliminary injunction is 24 pages and contains over 150 pages of exhibits.
15            3.    On March 11, 2025, the undersigned counsel met and conferred with
16   Plaintiffs via email pursuant to the Court’s Standing Order, ECF No. 10, to ascertain their
17   position on this motion. On March 13, Plaintiffs’ counsel responded with a proposal that
18   Defendants cannot agree to at this time; accordingly, Defendants note Plaintiffs’
19   opposition to this motion.
20            4.    Good cause supports this motion. See Fed. R. Civ. P 6(b). Plaintiffs’
21   complaint and motions — totaling hundreds of pages — raise numerous complex legal
22   and factual issues which require input and guidance from the Defendant agencies. The
23   standard 14-day motion response deadline does not provide enough time for undersigned
24   counsel to properly consult with the Defendant agencies on the facts underlying the case
25   and assess whether there is any portion of Plaintiffs’ motion on which the parties may
26   agree.
27            5.    Additionally, undersigned counsel for the government cumulatively is
28   managing a significant amount of other pressing matters in their case load which have
                                                    1
         Case 1:25-cv-00246-JLT-CDB       Document 27      Filed 03/14/25   Page 3 of 5


1    prevented them from devoting their sole attention to this new, fact-specific litigation.
2          6.     An extension of time will allow Defendants time to discuss with the agency
3    the facts of this case and to potentially resolve any of the issues raised by Plaintiffs’
4    motions without further litigation. Defendants seek this extension in good faith and not for
5    the purpose of delay. This is Defendants’ first and only extension request in this case.
6    Plaintiffs will not be prejudiced by the requested extension, which is of a reasonable length
7    of time, will conserve judicial resources, and may render some aspects of this litigation
8    moot. See Henry’s Bullfrog Bees v. Sunland Trading, Inc., No. 2:21-cv-00582-TLN-CKD,
9    2021 WL 2227811, at *3 (E.D. Cal. June 2, 2021) (noting that because the requested
10   extension “is not an extraordinary lengthy amount of time” “the risk of prejudice to the
11   parties is minimal”); see also Garnett v. ADT LLC, 2015 WL 12942061, at *1 (E.D. Cal.
12   Dec. 2, 2015) (in granting requested extension, noting that it “will not cause any significant
13   delays in the case.”). Moreover, while Plaintiffs claim they are at risk of imminent,
14   irreparable harm, neither their complaint nor their motion for preliminary injunction allege
15   that CBP has conducted any operations in this district since January 2025. And, in any
16   event, CBP is now aware of the allegations in this lawsuit and the potential for new
17   allegations that may arise from any future operations.
18         WHEREFORE, Defendants respectfully request that this Court grant Defendants a
19   17-day extension of time, from the current deadline of March 21, 2025, up to and including
20   April 7, 2025, to respond to Plaintiffs’ motions.
21
22   DATED:       March 14, 2025
23
24                                                YAAKOV M. ROTH
                                                  Acting Assistant Attorney General
25
                                                  United States Department of Justice
26                                                Civil Division
27                                           By: /s/ Samuel P. Go
28                                                SAMUEL P. GO
                                                   2
     Case 1:25-cv-00246-JLT-CDB   Document 27   Filed 03/14/25   Page 4 of 5


1                                       Assistant Director
                                        NYS Bar No. 4234852
2
                                        U.S. Department of Justice
3                                       Civil Division
                                        Office of Immigration Litigation
4
                                        General Litigation and Appeals Section
5                                       Ben Franklin Station PO Box 878
                                        Washington, DC 20044
6
                                        Telephone: (202) 353-9923
7                                       Fax: (202) 305-7000
                                        Email: Samuel.Go@usdoj.gov
8
9                                       MARY L. LARAKERS
                                        Senior Litigation Counsel
10
11                                      TIM RAMNITZ
                                        Senior Litigation Counsel
12
                                    By: /s/ Olga Y. Kuchins
13
                                       OLGA Y. KUCHINS
14                                     Trial Attorney
                                       United States Department of Justice
15
                                       Civil Division
16                                     Office of Immigration Litigation
                                       General Litigation and Appeals Section
17
                                       P.O. Box 878, Ben Franklin Station
18                                     Washington, DC 20044
                                       Tel. 771-202-1392
19
                                       Fax: 202-305-7000
20                                     Email: Olga.Y.Kuchins@usdoj.gov
21                                     Bar No. 312901

22                                      Counsel for Defendants
23
24
25
26
27
28
                                        3
         Case 1:25-cv-00246-JLT-CDB     Document 27    Filed 03/14/25   Page 5 of 5


1                              CERTIFICATE OF SERVICE
2
3          On March 14, 2025, I electronically submitted the foregoing document with the
4    Clerk of Court for the U.S. District Court, Eastern District of California, using the
5    electronic case filing system of the Court. I hereby certify that I have served counsel
6    electronically as authorized by Federal Rule of Civil Procedure 5(b)(2).
7
                                                /s/ Samuel P. Go
8
                                                SAMUEL P. GO
9                                               Assistant Director
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               4
